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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK

    __________________________________________
                                                )
    BARBARA SCHWAB et al., individually and     )
    on behalf of all others similarly situated, )
                                                )
                   Plaintiffs,                  )
                                                )
          v.                                    )                 No. 1:04-cv-1945 (JBW) (SMG)
                                                )
    PHILIP MORRIS USA, INC., et al.,            )
                                                )
                   Defendants.                  )
    __________________________________________)

                          DECLARATION OF ARTHUR J. MARGULIES

           I, Arthur J. Margulies, declare the following under penalty of perjury under the laws of

    the United States:


           1.      I am an associate at the law firm Jones Day, attorneys for defendant R.J. Reynolds

    Tobacco Company and Brown & Williamson Holdings, individually and as successor by merger

    to The American Tobacco Company. I submit this declaration to put before the Court true and

    correct copies of certain documents that are pertinent to Defendants’ Daubert Motion To

    Exclude The Testimony Of Dr. John R. Hauser.


           2.      Attached to this declaration, under the identified exhibit tabs, are true and correct

    copies of the following documents:


           Exhibit 1              Expert Witness Report of John R. Hauser dated December
                                  19, 2005, and Exhibits D, E and F attached thereto.

           Exhibit 2              Draft Expert Witness Report of John R. Hauser dated
                                  December 16, 2005.
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         Exhibit 3         Draft Expert Witness Report of John R. Hauser dated
                           December 19, 2005.

         Exhibit 4         Deposition Transcript of John R. Hauser, dated March 23,
                           2006 (excerpts).

         Exhibit 5         Exhibit 13 to Deposition of John R. Hauser, dated March
                           23, 2006.

         Exhibit 6         Exhibit 24 to Deposition of John R. Hauser, dated March
                           23, 2006.

         Exhibit 7         Deposition Transcript of John R. Hauser, dated March 24,
                           2006 (excerpts).

         Exhibit 8         Deposition Transcript of John R. Hauser, dated May 19,
                           2006 (excerpts).

         Exhibit 9         Deposition Transcript of Steven P. Gaskin dated May 9,
                           2006 (excerpts).

         Exhibit 10        Deposition Transcript of Shelley R. Schussheim dated May
                           10, 2006 (excerpts).

         Exhibit 11        Summary of Expert Opinions of Dr. Wayne S. DeSarbo
                           dated May 24, 2006.

         Exhibit 12        Expert Report of James J. Heckman dated May 25, 2006.

         Exhibit 13        David W. Stewart Expert Rebuttal Report dated May 23,
                           2006.

         Exhibit 14        Expert Disclosure of W. Kip Viscusi dated May 23, 2006.

         Exhibit 15        Expert Report of William Wecker dated May 26, 2006.

         Exhibit 16        Morbidity and Mortality Weekly Report, Cigarette
                           Smoking Among Adults - United States, 2004.

         Exhibit 17        Letter from Brent W. Landau to Paul Koethe dated January
                           23, 2006.

         Exhibit 18        Letter from Brent W. Landau to The Honorable Steven M.
                           Gold dated February 9, 2006.

         Exhibit 19        Plaintiffs’ Objections to the Magistrate Judge’s Order
                           Regarding Production of Materials Related to Dr. Hauser’s
                           Attempted Survey.



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         Exhibit 20        Exhibit 20 to Deposition of John R. Hauser, dated March
                           23, 2006.

         Exhibit 21        Deposition Transcript of Jeffrey E. Harris dated March 9,
                           2006 (excerpts).

         Exhibit 22        Memorandum and Order dated September 21, 2005.

         Exhibit 23        Memorandum and Order dated October 6, 2005.

         Exhibit 24        Transcript of Hearing dated September 12, 2005 (excerpts).

         Exhibit 25        Transcript of Hearing dated September 13, 2005 (excerpts).

         Exhibit 26        Transcript of Hearing dated March 17, 2006 (excerpts).

         Exhibit 27        Transcript of Hearing dated May 26, 2005 (excerpts).

         Exhibit 28        Transcript of Hearing dated August 31, 2005.

         Exhibit 29        Declaration of David W. Stewart dated July 22, 2005
                           (excerpts).

         Exhibit 30        Defendants’ Opposition to Plaintiffs’ Motion for Class
                           Certification (excerpts).

         Exhibit 31        Deposition Transcript of John C. Beyer dated June 2, 2005
                           (excerpts).

         Exhibit 32        Declaration of Bruce Neidle dated June 30, 2005.

         Exhibit 33        Plaintiffs’ Motion for Class Certification dated February
                           28, 2005.

         Exhibit 34        E-mail from Shelley R. Schussheim to John Hauser dated
                           February 16, 2005

         Exhibit 35        Transcript of Hearing dated November 18, 2005 (excerpts).

         Exhibit 36        Transcript of Civil Cause for Telephone Conference dated
                           October 26, 2005 (excerpts).




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          3.    I declare under penalty and perjury that the foregoing is true and correct.


    Executed on: June 9, 2006
                 New York, New York


                                                      /s/ Arthur J. Margulies
                                                      Arthur J. Margulies




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                                   CERTIFICATE OF SERVICE

           The foregoing DECLARATION OF ARTHUR J. MARGULIES was served on counsel

    for plaintiffs on June 9, 2006 by electronic mail through the Court’s CM/ECF system.




                                                Todd R. Geremia
